  Case: 4:20-mj-07194-SPM Doc. #: 9 Filed: 08/17/20 Page: 1 of 1 PageID #: 19




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
               Plaintiff,                        )
                                                 )
       v.                                        )         Case No. 4:20 MJ 7194 SPM
                                                 )
TERICA TANEISHA ELLIS,                           )
                                                 )
               Defendant.                        )

                                            ORDER

       Pursuant to the provisions of the Criminal Justice Act, 18 U.S.C. § 3006A (c) and, the

Criminal Justice Act Plan for the Eastern District of Missouri, IV, B, the Federal Public Defender

for this District is hereby appointed to represent the above-named defendant for:

              The initial appearance.

              All further proceedings in this case.



                                                 SHIRLEY PADMORE MENSAH
                                                 UNITED STATES MAGISTRATE JUDGE

Dated this 17th day of August, 2020.
